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                                                        HONORABLE RICHARD A. JONES
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                              UNITED STATES DISTRICT COURT
7                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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     NORTHWEST ADMINISTRATORS, INC,
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                    Plaintiff,
10                                                 Case No. 20-cv-00280 RAJ
            v.
11                                                 ORDER
     LAZ PARKING CALIFORNIA, LLC,
12
13                  Defendant.

14
            Pursuant to Order Granting Plaintiff’s Motion for Default Judgment dated October
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     14, 2020, Dkt. # 11, Plaintiff has provided an updated accounting of interest owed by
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     Defendant to Plaintiff’s Trust, Dkt. # 12.
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            Having considered the information, the Court orders judgment to be entered in the
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     total amount of $33,977.67 as follows: contributions in the amount of $24,133.79;
19
     liquidated damages in the amount of $4,826.76; interest in the amount of $3,598.12
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     (calculated through October 15, 2020); attorney fee award of $924 and costs of $495.
21
            DATED this 16th day of October, 2020.
22
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24
                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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28   ORDER – 1
